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 6   Attorneys for Defendant
     AMERICAN NATIONAL RED CROSS
 7
 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11   MARGARITA PEDROZA,                                     Case No.:
12                Plaintiff,
                                                            DECLARATION OF MARTHA S.
13         v.                                               DOTY IN SUPPORT OF NOTICE OF
                                                            REMOVAL OF ACTION TO
14   AMERICAN NATIONAL RED CROSS, a                         UNITED STATES DISTRICT
     District of Columbia nonprofit corporation;            COURT UNDER 28 U.S.C. § 1441 and
15   AMERICAN RED CROSS OF                                  1446, and 36 U.S.C. § 300105(a)(5)]
     CALIFORNIA, a California nonprofit
16   corporation; and DOES 1 through 50,
     Inclusive,
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                  Defendants.
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                       DECLARATION OF MARTHA S. DOTY IN SUPPORT OF NOTICE OF REMOVAL OF ACTION TO
                      UNITED STATES DISTRICT COURT UNDER 28 U.S.C. § 1441 and 1446, and 36 U.S.C. § 300105(a)(5)]
     LEGAL02/39813937v1
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 1                          DECLARATION OF MARTHA S. DOTY
 2         I, Martha S. Doty, declare:
 3                1.      I am an attorney duly licensed to practice law before all courts of
 4   the State of California and am an attorney of the law firm of Alston & Bird LLP,
 5   attorneys of record herein for Defendant American National Red Cross (“Defendant”).
 6   I make this declaration in support of Defendant’s Notice of Removal. I have personal
 7   knowledge of the facts set forth in this declaration and if called as a witness, I could
 8   and would testify competently to them.
 9         1.     Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s
10   Complaint entitled Margarita Pedroza v. American National Red Cross, et al., Case
11   No. 20STCV14431 in the Superior Court of California for the County of Los Angeles
12   and the Summons; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum;
13   Notice of Case Assignment; and Case Management Conference.
14         2.     Attached hereto as Exhibit B is a true and correct copy of the Notice of
15   Acknowledgment of Receipt to American National Red Cross, pursuant to section
16   415.30 of the California Code of Civil Procedure, of the Summons and the Complaint;
17   Civil Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice of Case
18   Assignment; and Case Management Conference that Plaintiff electronically served on
19   Defendant by emailing to me, as counsel for Defendant, on May 4, 2020.
20         3.     On May 26, 2020, I signed and returned the Notice of Acknowledgment
21   and Receipt to Plaintiff’s counsel, and service on Defendant was effective on that
22   date. See Exhibit B.
23         4.     Attached hereto as Exhibit C is a true and correct copy of the Answer to
24   Plaintiff’s Complaint that Defendant filed and served on June 24, 2020, which was
25   deemed filed by the Superior Court of California for the County of Los Angeles on
26   June 24, 2020.
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                        DECLARATION OF MARTHA S. DOTY IN SUPPORT OF NOTICE OF REMOVAL OF ACTION TO
                       UNITED STATES DISTRICT COURT UNDER 28 U.S.C. § 1441 and 1446, and 36 U.S.C. § 300105(a)(5)]
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 1         5.     Plaintiff has not served the defendant identified as American Red Cross
 2   of California.
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 4                I declare under penalty of perjury of the laws of the United States that the
 5   foregoing is true and correct.
 6
 7                Executed this 25th day of June 2020, at Los Angeles, California.
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                                                                     Martha S. Doty
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                       DECLARATION OF MARTHA S. DOTY IN SUPPORT OF NOTICE OF REMOVAL OF ACTION TO
                      UNITED STATES DISTRICT COURT UNDER 28 U.S.C. § 1441 and 1446, and 36 U.S.C. § 300105(a)(5)]
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                        EXHIBIT A

                                       4
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                                      20STCV14431
                             Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Elizabeth Feffer
Electronically FILED by Superior Court of California, County of Los Angeles on 04/14/2020 03:45 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Clerk


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                      Attorneys for Plaintiff
                      MARGARITA PEDROZA



                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                       COUNTY OF LOS ANGELES
               10

                      MARGARITA PEDROZA                                                             ) Case No.
                                                                                                    )
               12
                                             Plaintiff,                                               COMPLAINT FOR:
               13                                                                                )                                    Gov't
                                 vs.                                                             ) 1. Disability Discrimination (Cal.
               14                                                                                )    Code  ) 12940  (a), (m))
                      AMERICAN NATIONAL RED CROSS, a                                             ) 2. Failure to Engage in the Interactive
               15     District of Columbia nonprofit corporation;                                )    Process in Violation of the FEHA (Cal.
                      AMERICAN RED CROSS OF CALIFORNIA,                  Gov't Code tj 12940 (n))
               16
                      a California nonprofit corporation; and DOES I 3. Failure to Accommodate Disability in
                                                                    )
               17     through 50, Inclusive,                             Violation of the FEHA (Cal. Gov't Code (
                                                                    )    12940 (m) (I))
               18                    Defendants.                    ) 4. Failing to Take All Reasonable Steps to
                                                                    )    Prevent Discrimination and Harassment in
               19                                                        Violation of the FEHA (Cal. Gov't Code $
              20                                                         12940 (k))
                                                                      5. Retaliation in Violation of FEHA (Cal.
                                                                    )
              21                                                         Gov't Code 12940 (h))
                                                                    ) 6. Wrongful Termination in Violation of
              22                                                    )    Public Policy
                                                                    ) 7. Declaratory and Injunctive Relief
                                                                                                 )
                                                                                                 ) DEMAND FOR JURY TRIAL
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                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
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                                                  INTRODUCTION
                 1.       Defendant AMERICAN NATIONAL RED CROSS and AMERICAN RED

         CROSS OF CALIFORNIA (collectively "Defendants" "Red Cross" ) discriminated against,

         retaliated against and wrongfully terminated Plaintiff MARGARITA PEDROZA due to her

         disability and her requests for reasonable accommodation of that disability in the form of
         medical leave.
                                           JURISDICTION AND VENUE
                 2.       Jurisdiction and venue are proper in this Court because the claims alleged arose in

         Los Angeles County; all of the parties were or are residents of, or are doing business in Los

    10   Angeles County; or such claims may be brought in this Court by statute or law.
                 3.       The amount in controversy in this matter exceeds the sum of $ 25,000, exclusive

    12   of interest and costs.
    13                                                  PARTIES
    14           4.       Plaintiff MARGARITA PEDROZA ("Plaintiff') and, at all relevant times, was an
    15   individual residing in Glendale, Los Angeles County, California.

    16           5.       Plaintiff alleges, on information and belief, that, at all relevant times, Defendant
    17   AMERICAN NATIONAL RED CROSS was and is a District of Columbia non-profit

    18   corporation, with national headquarters at 431 18 St. NW, Washington, DC 20006, and local

    19   headquarters under the name AMERICAN RED CROSS SOUTHERN CALIFORNIA REGION

    20   in the County of Los Angeles at 11355 Ohio Avenue, Los Angeles, California 90025.

    21           6.       Plaintiff alleges that at all relevant times Defendant AMERICAN RED CROSS
    22   OF CALIFORNIA was and is a California nonprofit corporation, headquartered at 5042 Wilshire

    23   Blvd., Suite 44035, Los Angeles, CA 90036.

    24           7.       The true names and capacities, whether individual, corporate, associate, or

    25   otherwise, of the Defendants named as Does I through 50, inclusive, are unknown to Plaintiff at

    26   this time and therefore the Doe Defendants are sued by fictitious names. Plaintiff will seek leave

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                                        COMPLAINT; DEMAND FOR JURY TRIAL
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         to amend this Complaint to insert the true names and capacities of the Doe Defendants when the

         same become known to Plaintiff. Plaintiff alleges, on information and belief, that each of the
         fictitiously named Defendants is responsible for the wrongful acts alleged and is therefore liable

         to Plaintiff.

                 8.      Plaintiff alleges on information and believes that at all relevant times, Defendants,
         and each of them, were the agents, employees, coconspirators, parent corporation, joint

         employers, alter ego, or joint venturers of the other Defendants, and each of them, and in doing
         the things alleged, were acting at least in part within the course and scope of said agency,

         employment, conspiracy, joint employer, alter ego status, or joint venture and with the

    10   permission and consent of each of the other Defendants.
                 9.      Whenever and wherever reference is made in this complaint to any act or failure

    12   to act by a defendant or co-defendant, such allegations and references shall also be deemed to

    13   mean the acts or failures to act by each defendant acting individually, jointly and severally.
    14                                     FACTUAL ALLEGATIONS

    15            10.    Defendants hired Plaintiff as a medical assistant on or about April 12, 1995.

    16            11.    Throughout her employment, Plaintiff received several promotions, including

    17   Tech 1A 2RBC Alyx Operator, Preceptor/Trainer, and most recently as a Technician II in Red
    18   Cross'asadena Donor Center in or about 2010.
    19            12.    As a Technician II employee, Plaintiff was cross-trained and performed

    20 procedures in the collection of whole blood and platelet/plasma collection. Her job duties

    21   included daily quality control, welcoming and registering donors, collection and documentation
    22   of vital signs and health histories, determining eligibility, phlebotomy, monitoring donors and
    23   managing donor reactions, caring for donors, and processing the collected units for temporary
    24   storage. Additionally, Plaintiff packed and shipped products to testing lab, cleaned and restocked

         donor rooms, processed donors'lood donation, assisted donors in their recovery, and observed

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         the donors to ensure there were no health issues. Plaintiff also helped integrate the departments
         that collected platelets and plasma with the department that collected whole blood.

                 13.     Throughout her employment, Plaintiff received performance reviews that ranged

         &om satisfactory to excellent &om multiple supervisors at the Pasadena Donor Center. Ms.

         Pedroza also received four certificates of recognition in the three months prior to her termination.
         These certificates, which are reserved for employees who exceed expectations in specific job

         metrics, recognized both Plaintiff's job performance and her customer service.

                 14.     In or about July 2016, a regular donor came into the Pasadena Donor Center in

         which Plaintiff worked. Plaintiff noticed that the donor was swaying and losing balance as he
    10   walked down the hall after his blood donation. Given her experience, Plaintiff instinctually

         rushed towards the donor to catch him so he would not fall and hurt himself. Plaintiff then asked

    12   Kathleen Torres ("Ms. Torres"), a registered nurse at the Pasadena Donor Center, to put a chair

    13   behind the donor so he could sit down. Once the chair was placed behind the donor, the donor

    14   grabbed Plaintiff and collapsed onto the chair, bringing Plaintiff down with him as all his weight

    15   was placed on Plaintiff. Plaintiff did not immediately feel pain, but as the hours progressed, she

         felt her muscles fightening and an increased dull, aching, and burning pain to her neck and back.

    17   To this day, Plaintiff still experiences difficulties sleeping at night.

    18           15.     Ms. Torres witnessed this injury and filled out an injury and incident report on the

    19   date of the accident. Subsequently, Defendants required Plaintiff visit a U.S. Healthworks doctor

    20   for an examination on her back. Plaintiff was ordered to attend physical therapy and chiropractic

    21   therapy, but was released to work without restrictions.
    22           16.     After several weeks of treatment, Plaintiff s pain worsened, so she was referred to

    23   treat with Dr. Aaron Coppelson ("Dr. Coppelson"), an orthopedist. Dr. Coppelson put work
    24   restrictions of no heavy Ii&ing and no repetitive bending on Plaintiff. Plaintiff worked with these

    25   restrictions &om August through October 2016. PlaintifP s work performance and productivity

    26   remained good during this time. However, one of Plaintiff s peers, a co-worker named Christian,

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         appeared to believe Plaintiff s disability-based restrictions had turned her into his subordinate,

         having her get the health history and check vital signs for his donors, as well as bringing those
         donors to him. He would even instruct Plaintiff to bend to get supplies for him, and then tell her

         to carry those supplies, demonstrating that he cleared viewed Plaintiff as having somehow been

         demoted by Defendants due to her disability, as opposed to having a medical issue that needed
         accommodation. Plaintiff complained to Ms. Torres regarding this, and requested a meeting

         between the three of them, where Christian ostensibly apologized for his actions. However, after

         the meeting, Christian continued to pressure Plaintiff to perform his job for him.

                 17.    In approximately late October 2016, Plaintiff spoke with Dr. Coppelson and asked

    10   ifhe could remove her work restrictions. Though Plaintiff continued to have a disability that
         required avoiding lifting heavy items and repetitive bending, her job duties did not generally

    12   require those actions. Plaintiff preferred to be able to request help from co-workers if she needed
    13   it rather than having formal restrictions and believed that removing the restrictions would help

    14   remind Christian that they were peers, since Defendants had failed to correct his behavior. Dr.

    15   Coppelson agreed to remove the restrictions, and by the end of October 2016, Plaintiff was
    16   cleared to work without formal restrictions, while using a stool to avoid bending and requesting

    17   lifting assistance when necessary.
    18           18.    In approximately October 2016, Plaintiffhad filed a workers'ompensation claim

    19   for her back injury. In November 2017, Plaintiff saw the Agreed Medical Examiner ("AME"),

    20 Dr. Kraemer. AME Kraemer re-instituted Plaintiff s lifting and bending resnf cfions but did not

    21   provide Plaintiff a final report at that time. The renewed restrictions did not prevent Plaintiff
    22   from continuing to do her job, with the same accommodations of stool usage and lifting

    23   assistance she had been using during the time she did not have formal restrictions.

    24           19.    On or about April 27, 2018, Ms. Pedroza was asked to contact Joanna Rogers

    25   ("Ms. Rogers" ), the Apheresis Assistant Director of Nursing for the Pasadena Red Cross Donor

         Center. To Plaintiff s surprise, Irma Escobedo ("Ms. Escobedo" ) from Human Resources was on

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          the call with Ms. Rogers. After Ms. Rogers assured Plaintiff that she was not in trouble, Ms.

          Rogers asked Plaintiff if she had been lifting heavy objects or doing repetitive bending while at
          work. Plaintiff responded with, "No. We just watched the instrucfional video and it says to get

          help   if lifting anything, so I do that." Plaintiff also mentioned that she sits in a stool to avoid
          bending while performing job duties that previously required her to bend. In response, Ms.
          Escobedo stated that Red Cross received the final report &om the AME doctor, Dr. Kramer,

          which restricted Plaintiff &om lifting anything over 35 pounds and prevented Plaintiff &om
          repetitive bending. Plaintiff had not seen the AME's final report but as these were the exact

          same work restrictions Plaintiff had been given in 2016 by Dr. Coppelson and then again in

     10   November 2017 by the AME and under which she had worked without incident or difficulty,

          Plaintiff did not believe there would be a problem. Despite this, Ms. Escobedo and Ms. Rogers
     12   told Plaintiff that Red Cross could no longer accommodate her with these restrictions without
     13   any explanation or indication of why. Rather than attempting to engage in an interactive process
     14   to find a reasonable accommodation for Plaintiff, Ms. Escobedo then simply informed Plaintiff

     15   that she could finish the rest of her day but could not return to work the following day. Ms.

     16   Escobedo instructed Plaintiff that she must file for FMLA leave for her workers'ompensation

     17   injury and suggested that Plaintiff apply for other jobs within Red Cross, while not offering
     18   Plaintiff any assistance with placement in a new position or guidance on possible positions for
     19   her.

    20             20.     After the April 27, 2018 phone call, Plaintiff notified Ms. Torres of Ms.

    21    Escobedo's mandates and proceeded to request FMLA leave for her workers'ompensation
    22    injury through the Red Cross Benefits System, as directed by Ms. Escobedo. Although Plaintiff
    23    was uneasy about filing the FMLA leave, she did so as she did not want to be accused of

    24    insubordination by not obeying a superior's instruction.

    25             21.     On May 16, 2018 and May 23, 2018, Ms. Pedroza visited Dr. Coppelson to obtain

    26    work status reports. On each of these visits, Dr. Coppelson stated that, in his opinion and if need
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          be, Plaintiff could work without restrictions. Eager to start working again, Plaintiff presented

          these reports to Barbara Gunter ("Ms. Gunter"), a Red Cross Risk Management employee.
          However, Defendants still refused to return Plaintiff to work. Instead, it was insisted that

          Plaintiff have a doctor sign the FMLA leave application.
                 22.         On May 23, 2018, Plaintiff relayed this information to Dr. Coppelson. After

          questioning Defendants'esire to put Plaintiff on FMLA leave, Dr. Coppelson begrudgingly

          filled out the FMLA request form and suggested that she take leave twice a month for just three
          hours per leave.

                 23.     Instead of adhering to Dr. Coppelson's recommendation of intermittent and brief

     10   FMLA leave, Defendants placed Plaintiff on full FMLA leave until July 20, 2018.

                 24.     On June 1, 2018, Defendants sent Plaintiff an unsolicited additional letter that

     12   stated Plaintiff was "granted" a non-FMLA medical leave from July 20, 2018 through July 28,

     13   2018. Since Plaintiff never requested additional leave, she should have been returned to her

     14   position on July 20, 2018, which was the end of her FMLA leave.
     15          25.     On July 2, 2018, Plainfiff e-mailed Ms. Gunter and attached her May 16, 2018

          and May 23, 2018 work status reports. In the e-mail, Plaintiff wrote, "I am wondering what

     17   happens now because I feel like I'm in Limbo [...] because of the work restrictions [and I] don'
     18   qualify for disability, nor unemployment because you said I'm still considered an employee.
     19   However, I am not working. Prior to HR asking me to file for FMLA I had been working fine, I

    20 was doing a great job according to my Supervisor's reviews.        [...] Dr. Coppelson has stated that I
    21    can return to work without restrictions."

    22           26.     Ms. Gunter responded to Plaintiffby acknowledging the two work status reports,

    23    but claimed Defendants could not "hire her back" because the AME doctor still had her listed
    24    with restricfions. Ms. Gunter ended the e-mail with, "I have copied HR on this communication so

    25    everyone is in the loop.'" Days later, Ms. Rogers, Plaintiff's supervisor, called the Red Cross

    26    benefits department to inform them Ms. Pedroza would not be returning to work. Ms. Rogers

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          never contacted Plaintiff or asked to speak on her behalf, leaving Plaintiff without an opportunity

          to return to work.

                 27.     Defendants have continued to insist that they will never return Plaintiff to work.

          Given Ms. Gunter's statement that Defendants could not "hire [Plaintiffs back", Defendants have

          effectively terminated Plaintiff s employment no later than July 2, 2018, and likely back on April

          27, 2018. Defendants'ccommodation of Plaintiff s initial restrictions for approximately 8

          months, and refusal to allow Plaintiff to return to work despite Plaintiff obtaining full medical

          clearance demonstrates that the claimed termination reason of disability restrictions that could

          not be accommodated was pretextual. Defendants discriminated against Plaintiff and terminated
     10   her due to her disability and previous requests for accommodation.


     12                        EXHAUSTION OF ADMINISTRATIVE REMEDIES

     13          28.     On April 19, 2019, Plaintiff filed an amended DFEH complaint, and DFEH

     14   subsequently issued a Notice of Case Closure and Right to Sue for all state law discrimination

     15   claims alleged herein.

     16          29.     This suit is brought within one year of Plaintiff s "right to sue" letter.

     17

     18                                     FIRST CAUSE OF ACTION
     19    (For Discrimination Based on Disability in Violation of Fair Employment 4 Housing Act)
     20                                          (Gov. Code II12940)

     21    (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
     22                                   CALIFORNIA, and DOES 1-50)
                  30.    Plaintiff incorporates the allegations contained in all previous paragraphs as
     24   though fully stated here.
     25           31.    AMERICAN NATIONAL RED CROSS is an employer that regularly employs

     26   five (5) or more persons.

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                                        COMPLAINT„DEMAND FOR JURY TRIAL
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                 32.     AMERICAN RED CROSS CALIFORNIA is an employer that regularly employs

          five (5) or more persons.

                 33.     During her employment with Defendants, Plaintiff suffered from physical
          disabilities that limited major life activities. Defendants were aware of Plaintiff's disabilities and

          potential and perceived disabilities because Plaintiff was injured on the job, sought treatment

          &om a provider within Defendants network, and she kept Defendants notified about her

          condition and her need for reasonable accommodations, including a medical leave of absence.

                 34.     Plaintiff was qualified for the position she held, in that she could perform the
          essential duties of her position, with or without reasonable accommodation.

     10          35.     Defendants discriminated against Plaintiffbecause ofher disabilities, potential

          disabilities or perceived disabilities, as well as her request for accommodation.

     12          36.     Plaintiff was treated less favorably than other individuals outside the protected
     13   class, by conduct including, but not limited to: subjecting Plaintiff to numerous and repeated

     14   conversations leading her to believe her job was in jeopardy due to her disability, which was not

     15   visited upon other employees; subjecting Plaintiff to improper, unfair and disparate treannent;

     16   other similar treatment; and termination.

     17           37.    Defendants'iscriminatory conduct constitutes unlawful discrimination in
     18   employment on account of disability and a failure to reasonably accommodate disability in
     19   violation of Government Code     Ij   12940.

     20           38.    As a legal result of Defendants'iscriminatory conduct against Plaintiff, Plaintiff

     21   has been harmed in that she has suffered the loss of wages, benefits, and additional amounts of

     22   money she would have received if she had not been discriminated against, in an amount
     23   according to proof at time of trial but not less than $ 150,000.

     24           39.    As a further legal result of Defendants'iscriminatory conduct against Plaintiff„

     25   Plaintiff has been harmed in that she has suffered physical sickness and resulting humiliation,
     26   mental anguish and emotional distress. As a result of that discrimination and consequent harm,

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          Plaintiff has suffered damages in an amount according to proof at time of trial but not less than

          $ 1,000,000.

                 40.     The above-described acts of Defendants, by and through their managing agents,

          officers, or directors, were engaged in with a deliberate, cold, callous and fraudulent and

          intentional manner in order to injure and damage Plaintiff and/or with a conscious disregard of

          Plaintiff and her rights. Such acts were despicable, and constitute malice, fraud, and/or
          oppression within the meaning of Civil Code Section 3294. Plaintiff requests an assessment of
          punitive damages against Defendants, in an amount to be proven at time of trial.
                 41.     Defendants, and each of them, are responsible for interest, penalties, and

     10   attorneys'ees related to this cause of action.
                                          SECOND CAUSE OF ACTION

     12            (For Failure to Engage in the Interactive Process in Violation of the FEHA)
     13    (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
     14                                   CALIFORNIA and DOES 1-50)
     15          42.      Plaintiff incorporates the allegations contained in all previous paragraphs as
     16   though fully stated here.
     17          43.     It is unlawful for an employer to fail to engage in an affirmative, interactive

          accommodation process to identify and implement effective accommodations for an employee

     19   with a known disability. Cal. Gov't Code tj( 12940(k) and (n); Prilliman v. United Airlines
     20   (1997) 53 Cal. App. 4th 935, 950-51. It is further unlawful for an employer to fail to take all
     21   steps necessary to prevent discrimination from occurring. Cal. Gov't Code     $   12940(k).

     22          44.     Defendants knew of Plaintiff s physical disability and/or perceived Plaintiff to

     23   have a physical disability. Plaintiff was willing to participate in an interactive process and
          requested reasonable accommodation of her disability. Plaintiff was fully performing her job

     25   duties with work restrictions for months. However, Defendants later forced Plaintiff to take a

     26   leave of absence and stopped accommodating Plaintiff and failed to engage in an interactive

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                                        COMPLAINT; DEMAND FOR JURY TRIAL
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          process to provide accommodation. Defendants did not identify or implement effective
          accommodations for Plaintiff at the expiration of her leave of absence, thus resulting in

          Plaintiff s termination.
                 45.        Defendants failed to comply with subsections (k) and (n) of California

          Government Code section 12940 and failed to participate in a timely good-faith interactive

          process. Instead, Defendants discriminated against Plaintiffby refusing to allow her to return to

          work, failing to accommodate her, and by terminating her.

                 46.        As a direct and proximate result of these unlawful acts, Plaintiff has suffered and

          continues to suffer economic damages including but not limited to lost wages, employment

     10   benefits, pension benefits and other compensation, in an amount to be proven at trial but not less

          than $ 150,000.
     12          47.        As a further direct and proximate result of said Defendant's unlawful conduct,

     13   Plaintiffhas suffered and continues to suffer from emotional and mental distress including but
     14   not limited to pain, suffering, humiliation, shame, anxiety, embarrassment, and physical

     15   symptoms, and has incurred and continues to incur special and general damages, in a sum within
     16   the jurisdiction of this Court, to be ascertained according to proof, but not less than $ 1,000,000.

     17           48.       The above-described acts of Defendants, by and through their managing agents,

          officers, or directors, were engaged in with a deliberate, cold, callous and fraudulent and

     19   intentional manner in order to injure and damage Plaintiff and/or with a conscious disregard of

    20    Plaintiff and her rights. Such acts were despicable, and constitute malice, I'rand, and/or
     21   oppression within the meaning of Civil Code Section 3294. Plaintiff requests an assessment of
     22   punitive damages against Defendants, in an amount to be proven at time of trial.

     23           49.       Defendants, and each of them, are responsible for interest, penalties, and

     24   attorneys'ees related to this cause of action.
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                                          COMPLAINT; DEMAND FOR JURY TRIAL
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                                              THIRD CAUSE OF ACTION
                 (For Failure to Reasonably Accommodate Disability in Violation of the FEHA)
           (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
                                            CALIFORNIA, and DOES 1-50)
                 50.        Plaintiff incorporates the allegations contained in all previous paragraphs as

          though fully stated here.
                 51.        During her employment with Defendants, Plaintiff suffered from physical
          disabilities which limited major life activities. Defendants were aware of PlaintifF s disabilities

          and potential or perceived disabilities because Plaintiff was injured on the job„sought treatment

     10   from Defendant providers within its network, and she subsequently notified Defendants about

          her condition and her need for reasonable accommodations.

     12          52.        Plaintiff requested reasonable accommodations of her disability, including a
     13   medical leave of absence. Plaintiff returned to work with restrictions and was able to

     14   satisfactorily perform her same job duties. Months later, Plaintiff was told by Defendants that she

     15   must go on a medical leave of absence because of these same work restrictions, without

     16   providing her with any reasonable accommodation. After Plaintiff's leave of absence ended,
     17   Defendants failed to provide reasonable accommodation, and instead refused to allow Plaintiff to

     18   return to work.
     19          53.        Defendants'ailure to accommodate Plaintiff's disability constitutes unlawful
    20 discrimination in employment on account of disability and unlawful failure to accommodate, in

     21   nolation of the provisions of the California Fair Employment and Housing Act.
     22          54.        As a legal result of Defendants'onduct against Plaintiff, and as a legal result of

     23   Defendants'ailure to reasonably accommodate Plaintiff s disability, Plaintiff has been harmed
     24 in that she has suffered the loss of wages, benefits, and additional amounts of money she would

     25   have received if she had been accommodated, in an amount according to proof at time of trial,

     26 but not less than $ 150,000.

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                                          COMPLAINT; DEMAND FOR JURY TRIAL
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                  55.    As a further legal result of Defendants'iscriminatory and harassing conduct

          against Plaintiff, and as a legal result of Defendants'ailure to reasonably accommodate
          Plaintiff s disability, Plaintiff has been harmed in that she has suffered physical sickness and
          resulting humiliation, mental anguish and emotional distress. As a result of that discrimination,

          failure to accommodate, and consequent harm, Plaintiff has suffered damages in an amount

          according to proof at time of trial, but not less than $ 1,000,000.

                  56.    The above-described acts of Defendants, by and through their managing agents,

          officers, or directors, were engaged in with a deliberate, cold, callous and fraudulent and

          intentional manner in order to injure and damage Plaintiff and/or with a conscious disregard of

     10   Plaintiff and her rights. Such acts were despicable, and constitute malice, fraud, and/or
          oppression within the meaning of Civil Code Section 3294. Plaintiff requests an assessment of
     12   punitive damages against Defendants, in an amount to be proven at time of trial.
     13           57.    Defendants, and each of them, are responsible for interest, penalties, and

     14   attorneys'ees related to this cause of action.
     15                                    FOURTH CAUSE OF ACTION
     16      (For Failure to Take All Reasonable Steps to Prevent Discrimination, Harassment and
     17                                 Retaliation in Violation of the FEHA)
           (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
     19                                    CALIFORNIA, and DOES 1-50)
     20           58.     Plaintiff incorporates the allegations contained in all previous paragraphs as

     21   though fully stated here.
     22           59.     Defendants failed to take all reasonable steps necessary to prevent discrimination,

     23   harassment and retaliation, in violation of the provisions of Government Code Section 12940(k).

     24 Defendants failed to ensure that Plaintiff would not suffer retaliation when she disclosed her

     25   disability and requested disability accommodation, failed to investigate or otherwise respond to

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                                         COMPLAINT; DEMAND FOR JURY TRIAL
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          Plaintiff's complaints of discrimination and retaliation, and enabled management to continue and

          intensify discriminatory and retaliatory conduct against after Plaintiff's complaints.

                 60.     As a legal result of Defendants'onduct, Plaintiff has suffered economic damages

          in an amount according to proof at time of trial, but not less than $ 150,000.

                 61.     As a further legal result of Defendants'onduct, Plaintiffhas been harmed in that

          she has suffered physical sickness and resulting humiliation, mental anguish and emotional

          distress. As a result of such conduct and consequent harm, Plaintiffhas suffered damages in an

          amount according to proof at time of trial, but not less than $ 1,000,000.

                 62.     The above-described acts of Defendants, by and through their managing agents,

     10   officers, or directors, were engaged in with a deliberate, cold, callous and fraudulent and

          intentional manner in order to injure and damage Plaintiff and/or with a conscious disregard of

     12   Plaintiff and her rights. Such acts were despicable, and constitute malice, &aud, and/or
     13   oppression within the meaning of Civil Code Section 3294. Plaintiff requests an assessment of
     14   punitive damages against Defendants, in an amount to be proven at time of trial.

     15          63.     Defendants, and each of them, are responsible for interest, penalties, and

     16   attorneys'ees related to this cause of action.
     17                                     FIFTH CAUSE OF ACTION
     18                               (For Retaliation in Violation of the FEHA)
     19    (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
     20                                   CALIFORNIA, and DOES 1-50)
     21          64.     Plaintiff incorporates the allegations contained in all previous paragraphs as
     22   though fully stated here.
     23          65.     Plaintiff engaged in protected conduct, by requesting reasonable accommodation
     24   for Plaintiff s disability in the form of leave from Defendants and by protesting the

     25   discrimination and retaliation directed against Plaintiff atter the disability leave. After that

     26 protected conduct, Defendants retaliated against Plaintiffby, among other things, subjecting

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                                        COMPLAINT; DEMAND FOR JURY TRIAL
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          Plaintiff to numerous and repeated conversations leading her to believe her job was in jeopardy
          due to her disability, subjecting Plaintiff to improper, unfair and disparate treatment, which

          eventually led to her termination.
                 66.     Defendants'onduct constitutes unlawful retaliation in violation of California
          Government Code ( 12940.

                 67.     As a legal result of Defendants'etaliatory actions against Plaintiff, as alleged

          above, Plainfiff has been harmed in that she has suffered the loss of wages, benefits, and

          additional amounts of money she would have received if she had not been retaliated against, in

          an amount according to proof at time of trial, but not less than $ 150,000.

     10          68.     As a further legal result of Defendants'etaliatory actions against Plaintiff,

          Plaintiffhas been harmed in that she has suffered physical sickness and resulting humiliation,
     12   mental anguish and emotional distress. As a result of such retaliation and consequent harm,

     13   Plaintiff has suffered damages in an amount according to proof at time of trial, but not less than
     14   $ 1,000,000.

     15          69.     The above-described acts of Defendants, by and through their managing agents,

     16   officers, or directors, were engaged in with a deliberate, cold, callous and fraudulent and

     17   intentional manner in order to injure and damage Plaintiff and/or with a conscious disregard of

     18   Plaintiff and her rights. Such acts were despicable, and constitute malice, fraud, and/or
     19   oppression within the meaning of Civil Code Section 3294. Plaintiff requests an assessment of
     20 punitive damages against Defendants, in an amount to be proven at time of trial.

     21          70.     Defendants, and each of them, are responsible for interest, penalties, and

     22   attorneys'ees related to this cause of action.
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                                        COMPLAINT; DEMAND FOR JURY TRIAL
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      1                                      SIXTH CAIJSE OF ACTION
                                (Wrongful Termination in Violation of Public Policy)
      3    (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
                                           CALIFORNIA, and DOES 1-50)

      5             71.   Plaintiff incorporates the allegations contained in all previous paragraphs as
      6   though fully stated here.
      7             72.   Defendants wrongfully terminated Plaintiff's employment in violation of the

      8   public policy included Government Code section 12940 et. seq., because of her disability and
      9   request and need for disability leave and Plaintiff's complaints regarding the discrimination and
     10   retaliation she faced upon returning &om disability leave.

     11             73.   As a legal result of Defendants'nlawful conduct, Plaintiff also suffered and

     12   continues to suffer pain and mental anguish, emotional and physical distress, and injury,

     13   humiliation, anxiety, loss of earnings, past and future, and other employment benefits and job

     14   opportunities in an amount to be determined at trial, but not less than $ 1,150,000.

     15             74.   Plaintiff prays for reasonable costs and attorney fees against said defendants, as
     16   allowed by California Government Code Ij12965 and any other applicable statutes for plaintiff s

     17   prosecution of this action in reference to the time plainfiffs attorney spends pursuing this cause
     18   of action as well as any other applicable statutes.
     19             75.   As more fully stated by the facts alleged above, the wrongful conduct committed

     20   and ratified by Defendants and their managing agents was done with a conscious disregard of

     21   Plaintiff s rights with the intent to vex, injure, and annoy Plaintiff so as to cause the injuries
     22   sustained by Plaintiff, which amounts to oppression, &aud, and malice, as stated in Civil Code

     23   $ 3294.   Plaintiff is, therefore, entitled to punitive damages in an amount to punish defendants
     24   and/or make an example of defendants to curb such conduct in the future.

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                                         COMPLAINT; DEMAND FOR JURY TRIAL
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                                          SEVENTH CAUSE OF ACTION
                                         (Declaratory and Injunctive Relief)
                                         (Cal. Gov't Code Section 12940 (k))

           (Against Defendants AMERICAN NATIONAL RED CROSS, AMERICAN RED CROSS
                                          CALIFORNIA, and DOES 1-50)
                 76.     Plaintiff incorporates the allegations contained in all previous paragraphs as
          though fully stated here.
                 77.     CaL Government Code ) 12920 sets forth the public policy of the State of

          California that "all persons have the right to seek, obtain, and hold employment, without

     10   discrimination or abridgement on account of...disability..."

                 78.     Cal. Government Code ) 12920.5 states: "In order to eliminate discrimination, it

     12   is necessary to provide effective remedies that will both prevent and deter unlawful employment

     13   practices and redress the adverse effects of those practices on aggrieved persons."

     14          79.     An actual controversy has arisen and now exists between Plaintiff and Defendants

     15   concerning their respective rights and duties as it is believed Defendants may allege that

     16   Defendants'ailure to accommodate Plaintiff, return Plainnff to work, continue Plaintiff s
     17   employment and other discriminatory actions, were based on non-discriminatory, legitimate
     18   reason(s) and that Plaintiff s disability was not a substantial motivating factor for the
     19   discriminatory decisions, or any factor whatsoever in those decisions. Plaintiff contends that any

     20   alternative reason(s) given by Defendants are a pretext to mask its true reason(s) for their

     21   discriminatory actions.

     22           80.    Pursuant to CCP    tj   1060, Plaintiff desires a judicial determination and declaration

     23   that her disability, and/or exercise of her right to request accommodation under FEHA, was a

     24   substantial motivating factor in the discriminatory decisions directed against her, including

     25   termination of her Red Cross employment

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                                        COMPLAINT; DEMAND FOR JURY TRIAL
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                 81.     A judicial declaration is necessary and appropriate at this time and under the

          circumstances in order that Plaintiff, on behalf of herself and other employees in the State of

          California and in conformity with the public policy of the State, obtain a judicial declaration of

          the wrongdoing of Defendants and to condemn such discriminatory employment policies or

          practices. Harris   v. City   of Santa Monica (2013) 56 Cal. 4th 203.
                 82.     A judicial declaration is necessary and appropriate at this time such that

          Defendants may also be aware of its obligations under the law to not engage in discriminatory

          practices and violate the law.

                 83.     Cal. Government Code $ 12965(b) provides that an aggrieved party, such as the

     10   Plaintiff herein, may be awarded reasonable attorney's fees and costs. "In civil actions brought
          under this section, the court, in its discretion, may award to the prevailing party...reasonable

     12   attorney's fees and costs, including expert witness fees." Such fees and costs expended by an

     13   aggrieved party may be awarded for the purpose of redressing, prevennng, or deterring

     14   discrimination. Plaintiff herein seeks these fees and costs.

     15          84.     The acts and omissions of the Defendants, and each of them, have caused

     16   irreparable harm to Plaintiff and will continue to cause irreparable harm to current employees

     17   unless the complained-of conduct is enjoined. There is no immediate, adequate or speedy

     18   remedy at law to redress the continuing retaliatory policies and practices of Defendant employer,
     19   and, there fore, Plaintiff seeks affirmative and injunctive relief as follows:

     20                                         a.   for an injunction restraining Defendants, and each of them,

     21                                              from continuing or maintaining any policy, practice,

     22                                              custom or usage which is retaliatory in nature against any

     23                                              employee exercising her rights under the FEHA;

     24                                         b. for an injunction restraining Defendants, along with its

     25                                              supervising employees, agents and all those subject to its

     26                                              control or acting in concert with it Irom causing,

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                                            COMPLAINT; DEMAND FOR JURY TRIAL
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                                       encouraging, condoning or permitting the practice of
                                       retaliation and willful violations of FEHA;

                                  c.   for affirmative relief requiring Defendants, and each of

                                       them, to conduct training of all employees to "sensitize"

                                       them to the harmful nature of retaliating against an

                                       employee exercising his rights under FEHA. The proposed

                                       plan of training should also include education, detection,
                                       correction and prevenfion of such retaliatory practices;

                                  d. for affirmative relief requiring Defendants, and each of

     10                                them, to notify all employees and supervisors, through

                                       individual letters and permanent postings in prominent

     12                                locations in all offices that retaliation violates the FEHA

     13                                and the consequences of said violation;

     14                           e.   for affirmative relief requiring Defendants, and each of

     15                                them, to develop clear and effective policies and

     16                                procedures for employees complaining of retaliation or

     17                                violations of FEHA so they may have their complaints

                                       promptly and thoroughly investigated (by a neutral fact
     19                                finder) and processes for hearing, adjudication and appeal

    20                                 of the complaints; and,
    21                            f.   for affirmative relief requiring Defendants, and each of

    22                                 them, to develop appropriate sanctions or disciplinary

    23                                 measures for supervisors or other employees who are found

    24                                 to have committed retaliatory acts, including warnings to

    25                                 the offending person and notations in that person'

    26                                 employment record for reference in the event future

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                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                 complaints are directed against that person, and dismissal

                                                 where other measures fail.

          WHEREFORE, Plaintiff prays for judgment as follows:

                  1.     For compensatory damages, including lost earnings and other employment

          benefits incurred and to be incurred in an amount according to proof at time of trial;

                 2.      For damages for physical sickness, emotional distress, humiliation and mental

          anguish in an amount according to proof at time of trial;
                 3.      For special and general damages in amount to be proven at trial;

                 4.      Loss of income incurred and to be incurred according to proof;

     10          5.      For punitive damages, as allowed by law, that will sufficiently punish, make an

          example of, and deter future conduct by Defendants;

     12          6.      For all appropriate equitable relief, including tax consequence adjustment to

     13   compensate for increased income tax liability resulting &om any back-pay award received in one

     14   lump sum;

     15           7.     For reasonable attorneys'ees and costs, including expert witness fees, under all

     16   applicable laws including but not limited to Cal. Gov. Code Section 12965;
     17           8.     For interest provided by law including but not limited to Cal. Civil. Code tj3291.

     18           9.     That Defendants, their successors, agents, representatives employees and all

     19   persons who act in concert with said Defendants be permanently enjoined from committing all
     20   acts of discrimination, retaliation, or other similar acts, including the violations alleged in all the

     21   Causes of Action herein and prohibited by the Fair Employment and Housing Act, Cal. Gov.

     22   Code Sections 12900-12996.

     23   DATED: April 13, 2020           ALEXANDER, KRAKOW+ GLICK LLP

     24                                           /Joshua M. Arnold
                                                  JOSHUA M. ARNOLD
     25                                           MARVIN E. KRAKOW
     26                                           Attorneys for Plaintiff,
                                                  MARGARITA P EDROZA
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                                         COMPLAINT; DEMAND FOR JURY TRIAL
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Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 25 of 48 Page ID #:31




                                           DEMAND FOR JURY TRIAL

                Plaintiff demands a jury trial.


          DATED: April 14, 2020                   ALEXANDER, KRAKOW+ GLICK LLP

                                                  /Joshua M. Arnold
                                                  JOSHUA M. ARNOLD
                                                  MARVIN E. KRAKOW
                                                  Attorneys for Plaintiff,
                                                  MARGARITA PEDROZA




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                                       COMPLAINT; DEMAND FOR JURY TRIAL
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              ATTORNEY OR PARTYINITHOUTATTORNEY          (Name, Slale Basnumoer and ddn   I                                                                FOR COURT USE ONLY
                  Marvin E. Krakow (SBN 8I228) Joshua M. Arnold (SBN 240IS41
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                  I900 Avenue of the Stars, Suite 900
                  Los Angeles, California 90067
                            (310)394-0888
                     TELEPHONE NO                     FAN NO (310)394-0811
                            Plaintiff Margarita PedrOZa
              ATTQRNEY FQR (Name/

         SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
             sTREETAoaREss 111 NORTH HILL STREET
                   MAILING ADDRESS

                   CITY AND ZIP CODE      LOS ANGELES, CALIFORNIA 9001 2
                       BRANcH NAME        STANLEY MOSK COURTHOUSE
              CASE NAME:
              Margarita Pedroza v. American National Red Cross
                                                                                                                              CASE
                   CIVIL CASE COVER SHEET                                         Complex Case Designation
                     Unlimited              M      Limited
                                                                             2]    Counter           H Joinder
                     (Amount                       (Amount
                                                                                                                              JIJDGE:
                     demanded             demanded is                       Filed with first appearance by defendant
                     exceeds $ 25,000)    $ 25,000 or less)         (Cal. Rules of Court, rule 3.402)     DEPT

                                              Items 1-6 below must be completed (see instructions on page 2).
                                                                                                                                     NUMBER'rovisionally




         1        Check one box below for the case type that best describes this case:
                  Auto Tort                                               Contract                                                  Complex Civil Litigation
                        Auto (22)                                                 Breach of contract/warranty (06)    (Cal. Rules of Court, rules 34400-3.403)
                        Uninsured motorist (46)                                   Rule 3.740 collections (09)         M      Antitrust/Trade regulation (03)
                  Other Pl/PD/WD (Personal Injury/Property                        Other collections (09)              Cj     Construction defect (10)
                  Damage/Wrongful Death) Tort
                        Asbestos (04)
                                                                                  Insurance coverage (18)             M      Mass tort(40)
                                                                                  Other contract (37)                        Securities litigation (28)
                        Product liability (24)                            Real Property                                      Enwronmental/Toxtc tort (30)
                        Medical malpractice (45)                                  Eminent domain/Inverse                     Insurance coverage claims arising from the
                       Other PI/PD/WD (23)                                        condemnation (14)                          above listed provisionaily complex case
                  Non-Pl/PD/WD (Other) Tort                                       Wrongful eviction (33)                     types (41)
                        Business tort/unfair business practice (07)               Other real property (26)          Enforcement of Judgment
                        Civil rights (08)                                Unlawful Detainer                            M  Enforcement of judgment (20)
                        Defamation (13)                                         Commercial (31)                     Miscellaneous Civil Complaint
                        Fraud (16)                                              Residential (32)                         RICO (27)
                        Intellectual property (19)                              Drugs (38)                            M  Other complaint (nof specified above) (42)
                        Professional negsgence (25)                      Judicial Review                            Miscellaneous Civil Petition
                  W     Other non-Pl/PD/IND tort (35)                           Asset forfeiture (05)
                                                                                                                      M
                  Employment
                   v'rongful termination (36)
                                                                                Petition re: arbitration award (11)
                                                                                                                      ~  Partnership and corporate governance (21)
                                                                                                                         Other petition (naf specified abave) (43)


         2.
                  ~     Other employment (15)
                  This case      LJ  is         Mis not
                                                                                INrit of mandate (02)
                                                                                Other judicial review (39)
                                                                   complex under rule 3.400 of the Cabfornia Rules of Court. If the case is complex, mark the
                  factors requiring exceptional iudicial management:
                  a.       Large number of separately represented parties                     d.   C7 Large number of witnesses
                  b. M     Extensive motion practice raising difficult or novel               e         Coordination with related actions pending in one or more courts
                           issues that will be time-consuming to resolve                                in other counties, states, or countfies, or in a federal court
                  c. W     Substantial amount of documentary evidence                         f.   M    Substantial postjudgment judicial supervision
        3. Remedies sought (check a/I lhal app/y): a.~y monetary b. d nonmonetary; declaratory or injunctive relief      c ~punitive
        4. Number of causes of action (speclfy): 7: Disab Discrim; Fail Engage; Fail Prev Discrim; Ret; Wrong Term
        5 This case          is  H      is not  IK
                                                a class action suit.
        6. If there are any known related cases, file and serve a notice of related case. (You may use form C/I//-Of 5.)

         Date April 14, 2020
        Joshua M. Arnold
                                            (TYPE OR PRINT NAMEI                                                     (SIGNATURE OF PARTY OR ATTORNEY FOR PARTYI
                                                                                    NOTICE
              ~   Plaintif must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3 220.) Failure to file may result
                  in sanctions.
              ~   File this cover sheet in addition to any cover sheet required by local court rule.
              ~   If this case ls complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
              ~   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                Page I of 2
        F nn Adopted for Mandatory Use                                                                                           Cal Rules of Coun, rules 2 30, 3 220, 3 400-3 403. 3 740
          Judo st Counol of Caltfomta
                                                                          CIVIL CASE COVER SHEET                                        Cal Standards of J 0 el Admtntstfation, std 310
              CM-ala IRev July I, 20071                                                                                                                              tvno ooudlstio oa gov


                                                                                                   27
  Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 28 of 48 Page ID #:34

                                                                                                                                          C II/I-01 0
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a compia1nt) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheef contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 5 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more speaf/c one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your /nit1al paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3 220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $ 25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that 1t will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3 740
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder 1n the
plaintiffs designation, a counter-designation that the case is not complex, or, 1f the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22) — Personal Injury/Property            Breach of ContrscVWarrsnty (06)                Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motongt (46) (//the                            Contract (noi un/aw/0/ de/amer             Construction Defect (10)
        case involves an uninsured                                or wrongful ev/c/100)                  Claims Involving Mass Tort (40)
        mo/or/2/0/0/m subject /0                         Contract/INarranty Breach-Seller                Securities Litigation (28)
        arbi/ra/yon, check this item                          Plaintiff (no/ fraud or neg//gence)        Environmental/Toxic Tort (30)
        instead 0/Auto)                                  Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (ar/0/ng from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of ContraciNVarranty                   case type listed above) (41)
Tort                                                 Collections (e g, money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
        Asbestos Property Damage                         Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                       County)
        Asbestos Personal Injury/
              Wrongful Death                                 Case                                           Confession of Judgment(non-
     Product Liability (nof asbestos or              Insurance Coverage (noi provisionally                       domestic re/0//ons/
         /ox/0/env/ronmen/0/j (24)                       comp/ex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice—                           Other Coverage                                         (00/ unpaid /axes/
              Physicians & Surgeons                  Other Contract (37)                                     Petition/Certification of Entry of
         Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
              Malpractice                                Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                  Case
    Other Pl/PD/WD (23)
         Premises Liability (e.g., slip              Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                                                         Condemnation (14)                               RICO (27)
              and fall)
         Intentional Bodily injury/PD/WD             Wrongful Eviction (33)                              Other Complaint (noi specified
                                                                                                            above/ (42)
              (e.g., assault, vandalism)             Other Real Property (e.g., quiet title) (26)
         Intentional Infliction of
                                                                                                            Declaratory Relief Only
                                                        INrit of Possession of Real Property
              Emotional Distress                         Mortgage Foreclosure
         Negligent Infliction of                         Quiet Title
              Emotional Distress                         Other Real Property (noi em1nent                    Other Commercial Complaint
         Other Pl/PD/WD                                  domain, /and/ordrtenan/, or                             Case (Ron-iortynon-comp/ex)
Non-Pl/PD/WD (Other) Tort                                                                                    Other Civil Complaint
    Business Tort/Unfair Business                                                                                (Ron-/ort/non-comp/ex)
       Practice (07)                                 Commeraal (31!                                  Igiscegsneous Civil Petition
   Civil Rights (e.g., discrimination,               Residential (32)                                    Partnership snd Corporate
        false arrest) (noi c/vd                      Drugs (38) (if the caseinvolves i//ega/                 Governance (21)
         harassment) (08)                                drugs, check this item; 0/henv/se,              Other Petition (00/ spew/ied
   Defamation (e.g., slander, libel)                     report as Commercial or Res/den//ag                 above) (43)
           (1 3)                                Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                      Petition Re. Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Wnt of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ-Administrative Mandamus
         Other Professional Malpractice                   Writ— Mandamus on Limited Court                    Petition for Name Change
              (no/medical or legal)                           Case Matter                                    Petition for Relief From Late
     Other Non-Pl/PD/WD Tort (35)                         Writ— Other Limited Court Case                          Claim
Employment                                                    Review                                         Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                            Commissioner Appeals
Cu-010 Ikey July   1,   2007]                                                                                                                Page 2 of 2
                                                    CIVIL CASE COVER SHEET


                                                                         28
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     SHORT TITLE                                                                                                CASE NUMBER
                   Pedroza     v.   Red Cross


                                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                         STATEMENT OF LOCATION
                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                   This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



            Step   1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                      Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


            Step 2:   In   Column 8, check the box for the type of action that best describes the nature of the case.


            SteP 3:   In   Column     C,    circle the number which explains the reason for the court filing location you have
                      chosen.

                                               Applicable Reasons for Choosing Court Filing Location (Column C)

1.   Class actions must be filed     in   the Stanley Mosk Courthouse, Central District,       7. Location where petitioner resides.

2. Permissive filing in central district.                                                      8. Location wherein defendant/respondent functions wholly.

3 Location where      cause of action arose.                                                   9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District                                         10. ocation of Labor Commissioner Oflice.
                                                                                                  I




                                                                                              11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.                                  non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                                                                                                                                                   C
                       Civil   Case Cover Sheet                                                Type of Action                                         Applicable Reasons-
                               Category No.                                                   (Check only one)                                         See Step 3 Above

                                 Auto (22)                CJ   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1,4,       11
       0
             0
                       Uninsured Motorist (46)            CI   A7110 Personal Injury/Property DamageNVrongful Death- Uninsured Motorist           1, 4, 11


                                                          Cl   A6070 Asbestos Property Damage
                               Asbestos (04)
                                                          Cl   A7221 Asbestos- Personal InjuryNVrongful Death
      Y
      ss     I—
      0                    Product Liabibty (24)          Cl   A7260 Product Liability(not asbestos or toxic/environmental)                       1,4,       11
      st     Rr

       Q cs                                               (3   A7210 Medical Malpractice - Physicians 8 Surgeons                                      1,4,   11
                       Medical Malpractice (45)                                                                                                   1,4,       11
             0!                                           (3   A7240 Other Professional Health Care Malpractice
       sl    0
       0     $
       L sl                                               Cl   A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                  1,4,       11
             IS&
             rs
                             Other Personal
                             Injury Property              ID   A7230 Intentional Bodily Injury/Property DamageNI/rongful Death (e.g.,
       0 E                                                           assault, vandalism, etc.)
                                                                                                                                                  1,4,       11
                            Damage Wrongful
      g      CT
                               Death (23)                 EI   A7270 Intentional Inlliction of Emotional Distress
                                                                                                                                                  1,4,11
                                                                                                                                                  1, 4, 11
                                                          Cl   A7220 Other Personal Injury/Property Damage/INrongful Death




      LACIV 109 (Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
      LASC Approved 03-04                                  AND STATEMENT OF LOCATION                                                              Page        1   of 4

                                                                                         29
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SHORT TiTLE                                                                                            CASE NUMBER
                    Pedroza v. Red Cross

                                                                                                                                                   C     Applicable
                        Civil   Case Cover Sheet                                         Type of Action                                    Reasons - See Step 3
                                Category No.                                            (Check only one)                                                 Above

                          Business Tort (07)         (3   A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1,2,3

   Cl
              0             Civil Rights (08)        (3   A6005 Civil Rights/Discrimination                                                1,2,3

                            Defamation (13)          (3   A6010 Defamation (slander/libel)                                                 1,2,3
   B' cs
              Ol                 Fraud (16)          (3   A6013 Fraud (no contract)                                                        1,2,3
   Cl         0
   0                                                 (3   A6017 Legal Malpractice                                                          1,2,3
   L
                     Professional Negligence (25)
                                                     5)   A6050 Other Professional Malpractice (not medical or legal)                      1,2,3
   s: E
   0          ill
          cs
                                 Other(35)           (3   A6025 Other Non-Personal Injury/Property Damage tort                             1,2,3

                      Wrongful Termination (36)      (2 A6037 Wrongful Termination                                                         1,2,@

                                                     Ei   A6024 Other EmploymentComplaintCase                                              1,2,3
                       Other Employment(15)
                                                     (3 A6109 Labor Commissioner Appeals                                                   10


                                                     (3   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2,5
                                                                eviction)
                     Breach of Contract/ Warranty                                                                                          2,5
                                    (06)             Ei   A6008 Contract/INarranty Breach-SellerPlaintiff(no fraud/negligence)
                            (notinsurance)           (3   A6019 Negligent Breach of Contract/INarranty (no fraud)
                                                                                                                                           1,2,5
                                                     (3   A6028 Other Breach of Contract/Warranty(not fraud or negligence)
                                                                                                                                           1,2,5

        Cl
                                                     (3   A6002 Collections Case-Seller Plaintiff                                          5, 6,   1 1
                            Collections (09)
        0                                            Ei   A6012 Other Promissory Note/Collections Case                                     5, 11
                                                     Ei   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                Purchased on or after January 1, 2014)
                       Insurance Coverage (18)       EI   A6015 Insurance Coverage (not complex)                                           1,2,5,8

                                                     EI   A6009 Contractual Fraud                                                          1,2,3,5
                         Other Contract (37)         (3   A6031 Tortious interference                                                      1,2,3,5
                                                     EI   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                       Eminent Domain/Inverse        Ei   A7300 Eminent Domain/Condemnation                Number of parcels               2,6
                         Condemnation (14)

    ss
        Cl              Vyrongful Eviction (33)      (3   A6023 Wrongful Eviction Case                                                     2,6
    0
    0.
        ls                                           EI   A6018 Mortgage Foreclosure                                                       2,6
        Cl
    IX                 Other Real Property (26)      Ei   A6032 Quiet Title                                                                2,6
                                                     Ei   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                    Unlawful Detainer-Commercial
                                                     () A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                6, 11
        ls                       (31)

        III          Unlawful Detainer-Residential
        Cl                                           0) A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)               6, 11
    cs                           (32)
                         Unlawful Detamer-                A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6,
                                                     (3                                                                                            1 1

        ls
                        Post-Foreclosure (34)
                    Unlawful Detainer-Drugs (38)     El   A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



 LACIV 109 (Rev 2/16)                                CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
 LASC Approved 03-04                                    AND STATEMENT OF LOCATION                                                          Page 2 of 4

                                                                                  30
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SNORT TiTLE                                                                                             CASE NUMBER
                   Pedroza v. Red Cross

                                                                                                8                                 C    Applicable
                       Civil   Case Cover Sheet                                           Type of Action                    Reasons See Step
                                                                                                                                         —
                                                                                                                                                    3
                               Category No.                                              (Check only one)                              Above

                        Asset Forfeiture (05)         Ci   A6108 Asset Forfeiture Case                                      2, 3, 6


                     Petition re Arbitration (11)     Ei   A6115 Petition to Compel/Confirm/Vacate Arbitration              2,5
         C!
         Tg
         Cl
                                                      Ei   A6151 Wdit Administrative Mandamus
                                                                       —
                                                                                                                            2,8
         al
         0              Writ of Mandate (02)          Ei   A6152 Writ Mandamus on Limited Court Case Matter
                                                                       —




                                                     Ei    A6153 Writ Other Limited Court Case Review
                                                                       —




                     Other Judicial Review (39)      LJ    A6150 Other Writ /Judicial Review                                2,8

                   Antitrust/Trade Regulation (03)   Ei    A6003 Antitrust/Trade Regulation                                 1,2,8
         0
         al           Construction Defect (10)       (3    A6007 Construction Defect                                        1,2,3
         Ol

                     Claims involving Mass Tort                                                                             1,2,8
         Cl                                          EI    A6006 Claims Involving Mass Tort
         CL                     (40)
         E
         0            Secunhes Litigation (28)       EI    A6035 Securities Litigation Case                                 I, 2, 8

                             Toxic Tort
                                                     (3    A6036 Toxic Tort/Environmental                                   1, 2, 3, 8
                         Environmental (30)
         0           Insurance Coverage Claims             A6014 Insurance Coverage/Subrogation(complex case only)          1, 2, 5, 8
                                                     EI
     SL               from Complex Case (41)

                                                     EI    A6141 Sister State Judgment                                      2, 5, 11

                                                     EI    A6160 Abstract of Judgment                                       2,6
   0Cl 0
       Cl
   E          E             Enforcement              (3    A6107 Confession of Judgment(non-domestic relations)             2,9
   al
   0 Ol                   of Judgment (20)           CI    A6140 Administrative Agency Award (not unpaid taxes)             2,8
   0
   0                                                       A6114 Petition/Certificate for Entryof Judgmenton UnpaidTax      2,8
  Lu o                                               Ei

                                                     Ei    A6112 Other Enforcement of Judgment Case                         2, 8, 9


                                RICO (27)            CI    A6033 Racketeering (RICO) Case                                   1,2,8
              al

              la                                     Ei    A6030 Declaratory Relief Only                                    1,2,8
              O.
              E
              0           Other Complaints           Ci    A6040 Injunctive Relief Only (not domestic/harassment)           2,8
          CJ         (Not Specified Above) (42)      EI    A6011 Other Commercial Complaint Case (non-tort/non-complex)     1,2,8
          CJ                                         EI    A6000 Other Civd Complaint(non-tort/non-complex)                 1,2,8

                      Partnership Corporation        Ei    A6113 Partnership and Corporate Governance Case                  2,8
                         Governance (21)

                                                     Ci    A6121 Civil Harassment                                           2, 3, 9
   ra         al
                                                           A6123 Workplace Harassment
   0Cl 0
                                                     LJ                                                                     2, 3, 9
       0
   III
                                                     (3    A6124 Elder/DependentAdult Abuse Case                            2, 3, 9
          0             Other Petitions (Not
                       Specified Above) (43)         EI    A6190 Election Contest
   ra
                                                     EI    A6110 Petition for Change of Name/Change of Gender               2,7
                                                     (3    A6170 Petition for Relief from Late Claim Law                    2, 3, 8
                                                     EI    A6100 Other Civil Petition                                       2,9




 LACIt/109 (Rev 2/I 6)                               CIVIL CASE COVER SHEET ADDENDUM                                      Local Rule 2.3
 LASC Approved 03-04                                       AND STATEMENT OF LOCATION                                        Page 3 of 4

                                                                                    31
    Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 32 of 48 Page ID #:38


 SHORT TITLE                                                                                CASE NUMBER
                 Pedroza v. Red Cross


Step 4: Statement of Reason and Address:            Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                          ADDRESS
   REASON:                                                                5042 Wilshire Blvd., Suite 44035
    C 1.    I2.    Ã   3. CI4. CI5. CI6.   7.   8.       9.   10.   11.



   CITY.                                        STATE.        ZIP CODE

   Los Angeles                                  CA            90036

Step 5: certification of Assignment:          certify that this case is properly tiled in the Cari
                                                     I


            the Superior Court of California, County of Los Angeles [Code      Civ.               et
                                                                                     Proc., 5392 seq.,
                                                                                                      tra'istrict
                                                                                                       and Local Rule 2.3(a)(1)(E)].
                                                                                                                                     of




  D~t~d. April 14, 2020
                                                                                        (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITENIS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.      Original Complaint or Petition.
       2.      If filing   a Complaint, a completed Summons form for issuance by the Clerk.
       3.      Civil   Case Cover Sheet, Judicial Council form CM-010.
       4.      Civil   Case Cover Sheet Addendum and Statement of Location form,           LACIV 109, LASC Approved 03-04 (Rev.
               02/16).
       5.      Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6.      A signedorder appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
               minor under 18 years of age will be required by Court in order to issue a summons.
       7.      Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
               must be served along with the summons and complaint, or other initiating pleading in the case.




 LAC/v 109 (Rov 2/16)                           CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
 LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                   Page 4 of 4

                                                                           32
     Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 33 of 48 Page ID #:39
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV14431

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Elizabeth R. Feffer                39




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       04/14/2020
    on _____________________________                                        M. Barel
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)                            33
                           NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 34 of 48 Page ID #:40
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)                             34
                            NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 35 of 48 Page ID #:41
                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 Margarita Pedroza
 DEFENDANT:
 American National Red Cross et al
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             20STCV14431
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             11/03/2020                8:45 AM                  39

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        04/20/2020
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Joshua Manning Arnold
     1900 Avenue Of The Stars
     Suite 900
     Los Angeles, CA 90067                                                 Sherri R. Carter, Executive Officer / Clerk of Court

        04/20/2020
Dated: __________________                                                                                L. Bituin
                                                                                                     By ________________________
                                                                                                                   Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                        Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT
                                              35 CONFERENCE
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                         EXHIBIT B

                                       36
               Case 2:20-cv-05684-RGK-JPR Document 1-1 Filed 06/25/20 Page 37 of 48 Page ID #:43
Electronically FILED by Superior Court of California, County of Los Angeles on 05/26/2020 05:16 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Gonzalez,Deputy Clerk




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                  Msrvin E. Krnkow (SBN 8122$ ); Joshua M. Arnold (SBN 240154)
                  AlexanderKrakow+Glick, LLP
                  1900 Avenue of the Stars, Suite 900
                  Los Angeles, California 90067
                                                                                                FAx No loof/ones:
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                                     mkmkow@skglipcom jsrnoldQaskglllx Dam           (
                     Alrorwnv ron IN™'laintiff MARGARITA PEDROZAI

                 SUPERIOR COURT OF cALIFORNIA, COUNTY OF                                 l,os Angeles
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                       PIAtNTIFF/PET/T/ONER:                     MARGARITA PEDROZA
                  OEFENOANT/RESPONDENT;                              AMERICAN NATIONAL RED CROSS
                                                                                                                                                     CASE NUMBER
                                    NOTICE AND ACKNOWLEDGII/IENT OF RECEIPT— CIVIL                                                                             20STCV14431


               TC (Insert name of party being servedj: Amer(can National Rsd Cross

                                                                                                               NOTICE
                   The summons snd other documents Identified below are being served pursuant Io section 415,30 of the California Code of Civil
                   Procedure. Your failure lo complete this form and return Ii within 20 days from the date of mailing shown below may subject you
                   (or the party on whose behalf you sre being served) to liability for the payment of any expenses incurred in serving a summons
                   on you in any other manner permitted by law.
                   if you sre being served on behalf of a corporation, an unincorporated associagon (including a partnership), or other entity, this
                   form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
                   entity. In all other cases, this form must be signed by you personally or by s person authorized by you to acknowledge receipt of
                   summons. If you return this form lo the sender, service of a summans is deemed complete an the dsy you sign the
                   acknowledgment of receipt below.

                   Date of mailing:                  May 4, 2020

                  Doug Meekins
                                                               IIYPE OR PRWT NAME)                                             isIGNATURE QF ssjgaER— MUsT HQT BE A PAR11 IN THls c/IBE)


                                                                                     ACKNOWLEDGMENT OF RECEIPT
                   This acknowledges receipt of (to be completed by sender before mailing);
                   1. ~f     A copy of the summons and of the complaint.
                   2 MJ      Other        (spscify).'ivil




                                      Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice of Case Assignment; Case
                                  Management Conference


                   (ra be comp/stsd by reclplentjl
                   Date this form Is signed                    May g&, 2020

                   Martha s. Dotv
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                                      ON WHOSE BEHALF THIS FORM IS SIGHEDI                                                 CnflQWLEDGMENT IS MADE QN BEHALF OF ATIQTHER PEIISOH DR ENTITY)



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                         EXHIBIT C

                                       38
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Electronically FILED by Superior Court of California, County of Los Angeles on 06/24/2020 03:34 PM Sherri R. Carter, Executive Officer/Clerk of Court, by V. Delgadillo,Deputy Clerk


                 1       MARTHA S. DOTY (SBN 143287)
                         KELSEY K. WONG (SBN 314574)
                 2       ALSTON & BIRD LLP
                         333 South Hope Street, 16th Floor
                 3       Los Angeles, CA 90071-1410
                         Telephone: 213-576-1000
                 4       Facsimile: 213-576-1100
                         martha.doty@alston.com
                 5       kelsey.wong@alston.com
                 6       Attorneys for Defendant
                         AMERICAN NATIONAL RED CROSS
                 7
                 8
                                                      SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                 9
                                                                     FOR THE COUNTY OF LOS ANGELES
               10
               11        MARGARITA PEDROZA,                                                                  Case No.: 20STCV14431
               12                               Plaintiff,                                                   [Assigned for all purposes to the
                                                                                                             Honorable Elizabeth R. Feffer, Dept. 39]
               13                    v.
                                                                                                             DEFENDANT AMERICAN NATIONAL
               14        AMERICAN NATIONAL RED CROSS, a District                                             RED CROSS’S ANSWER TO PLAINTIFF’S
                         of Columbia nonprofit corporation; AMERICAN                                         COMPLAINT
               15        RED CROSS OF CALIFORNIA, a California
                         nonprofit corporation; and DOES 1 through 50,
               16        Inclusive,
                                                                                                             Complaint Filed: April 14, 2020
               17                               Defendants.
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                                           DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
                          LEGAL02/39813067v2
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 1           Defendant American National Red Cross (“Defendant”), for itself alone and for no other

 2   defendant, hereby answers Plaintiff Margarita Pedroza’s (“Plaintiff”) unverified Complaint as

 3   follows:

 4                                            GENERAL DENIAL

 5           Pursuant to California Code of Civil Procedure § 431.30(d), Defendant generally and

 6   specifically denies each and every material allegation contained in Plaintiff’s Complaint. Defendant

 7   further denies, generally and specifically, that Plaintiff is entitled to the relief sought, in the manner

 8   or sum alleged.

 9                                       AFFIRMATIVE DEFENSES

10           As separate and distinct affirmative defenses to Plaintiff’s Complaint, and to the purported

11   causes of action therein, Defendant alleges and avers the following:

12                                    FIRST AFFIRMATIVE DEFENSE

13                                    (Failure to State a Cause of Action)

14           1.      The Complaint, and each of the purported causes of action alleged therein, does not

15   state facts sufficient to constitute a cause of action alleged against Defendants.

16                                  SECOND AFFIRMATIVE DEFENSE

17                                           (Statute of Limitations)

18           2.      Plaintiff’s causes of action are barred, in whole or in part, by the applicable statutes of

19   limitation including, but not limited to, those in the Cal. Code of Civil Procedure and the Cal. Labor
20   Code.

21                                    THIRD AFFIRMATIVE DEFENSE

22                                          (Exhaustion of Remedies)

23           3.      Plaintiff’s causes of action are barred, in whole or in part, because plaintiff failed to

24   exhaust her administrative remedies.

25                                  FOURTH AFFIRMATIVE DEFENSE

26                                            (Employment at Will)

27           4.      Plaintiff’s causes of action are barred, in whole or in part, by California Labor Code

28   section 2922.

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                  DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                   FIFTH AFFIRMATIVE DEFENSE

 2                                       (Compliance With All Laws)

 3          5.      Each and every purported cause of action in the Complaint is barred, in whole or in

 4   part, including Plaintiff’s claim for injunctive and declaratory relief, by reason of Defendant’s full

 5   compliance with all statutes, regulations and other laws in effect at the time of the conduct that

 6   allegedly gives rise to the injury alleged in Plaintiff’s Complaint.

 7                                   SIXTH AFFIRMATIVE DEFENSE

 8                                           (Waiver and Estoppel)

 9          6.      With regard to some or all of the matters alleged in each purported cause of action in

10   Plaintiff’s Complaint, Plaintiff has waived and/or is estopped from asserting some or all of the

11   claims in her Complaint.

12                                 SEVENTH AFFIRMATIVE DEFENSE

13                                            (Failure to Perform)

14          7.      The Complaint, and each of the purported causes of action alleged therein, is barred,

15   in whole or in part, because Plaintiff failed to fulfill the conditions and/or terms of her employment.

16                                  EIGHTH AFFIRMATIVE DEFENSE

17                                                (Good Faith)

18          8.      Each and every purported cause of action set forth in the Complaint is barred, in

19   whole or in part, because Defendant acted reasonably and in good faith towards Plaintiff.
20                                   NINTH AFFIRMATIVE DEFENSE

21                                  (Failure to State a Claim under FEHA)

22          9.      Plaintiff’s claims fail to state a claim under the California Fair Employment and

23   Housing Act, Cal. Gov’t Code section 12900, et seq. because, inter alia, Plaintiff is not “disabled”

24   under FEHA, is not a “qualified individual with a disability”, Defendant did not perceive or regard

25   Plaintiff as disabled, Plaintiff never sought any accommodations and/or the purported

26   accommodations Plaintiff now alleges or intends to allege she sought were not reasonable or caused

27   Defendant undue hardship or would not have allowed Plaintiff to perform the essential functions of

28   the job, and Defendant did not fail to engage in an interactive process with and/or to reasonably

                                                  41     3
                 DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1   accommodate Plaintiff under FEHA, but at all times complied with the law.

 2                                   TENTH AFFIRMATIVE DEFENSE

 3             (Good Cause/Legitimate, Non-discriminatory and Non-retaliatory Reasons)

 4          10.      Plaintiff’s causes of action are barred in whole or in part because the alleged negative

 5   employment-related decisions that form the basis of Plaintiff’s Complaint were based on legitimate,

 6   non-discriminatory and non-retaliatory grounds and Defendant complied with all statutes,

 7   regulations, and other laws in effect at the time of the conduct which allegedly gives rise to the

 8   injury alleged in Plaintiff’s Complaint.

 9                                ELEVENTH AFFIRMATIVE DEFENSE

10                          (Job Related/Business Necessity/Business Judgment)

11          11.      Defendant’s conduct regarding Plaintiff’s employment was in all respects proper

12   because it was job related and consistent with business necessity and because Defendant rightfully

13   exercised its business judgment in its employment-related decisions regarding Plaintiff.

14                                 TWELFTH AFFIRMATIVE DEFENSE

15                                              (Exclusive Remedy)

16          12.      Plaintiff’s causes of action, and each of them, which seek damages for physical,

17   mental and/or emotional distress, are barred by California Labor Code sections 3600 et seq., and/or

18   by California Labor Code section 132a which provide that workers’ compensation is Plaintiff’s

19   exclusive remedy.
20                               THIRTEENTH AFFIRMATIVE DEFENSE

21                              (Reasonable Steps to Prevent Discrimination)

22          13.      Plaintiff’s causes of action are barred in whole or in part because Defendant took

23   reasonable steps to prevent discrimination, investigate, and remedy discrimination.

24                              FOURTEENTH AFFIRMATIVE DEFENSE

25                                               (Mixed Motive)

26          14.      Defendant did not commit the acts or omissions as alleged in the Complaint for

27   discriminatory or retaliatory motives, but assuming that it did, such acts or omissions would have

28   been taken in any event for legitimate, nondiscriminatory, non-retaliatory, non-pretextual reasons.

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                  DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1
 2                              FIFTHTEENTH AFFIRMATIVE DEFENSE

 3                                              (Lack of Damages)

 4          15.      Defendant alleges that Plaintiff has not suffered any damages as a result of any acts or

 5   omissions of Defendant, or its agents or employees, and therefore, Plaintiff is barred from asserting

 6   any cause of action against Defendant.

 7                                SIXTEENTH AFFIRMATIVE DEFENSE

 8                                              (Failure to Mitigate)

 9          16.      With respect to each purported cause of action in her Complaint, Plaintiff has failed

10   to exercise reasonable diligence to mitigate her alleged damages and/or injuries. To that extent,

11   Plaintiff may not recover damages from Defendant.

12                              SEVENTEENTH AFFIRMATIVE DEFENSE

13                                                      (Offset)

14          17.      Alternatively, Plaintiff’s damages, if any, should be offset by any subsequent earnings

15   or benefits obtained by Plaintiff since termination of her employment with Defendant.

16                               EIGHTEENTH AFFIRMATIVE DEFENSE

17                                          (No Punitive Damages)

18          18.      Defendant is immune to any claim for punitive damages because, among other

19   things, it is a federal instrumentality.
20                               NINETEENTH AFFIRMATIVE DEFENSE

21                                          (No Punitive Damages)

22          19.      If and to the extent Plaintiff seeks punitive damages in this action, Plaintiff’s claims

23   are barred in whole or in part because Plaintiff has failed to allege facts sufficient to support a claim

24   for punitive and/or exemplary damages against Defendant.

25                               TWENTIETH AFFIRMATIVE DEFENSE

26                                               (No Ratification)

27          20.      Without admitting any liability, or that Plaintiff has suffered or will suffer any loss,

28   damage or injury, Defendant allege that each and every cause of action stated in Plaintiff’s

                                                   43      5
                  DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1   Complaint is barred, in whole or in part, because Defendant did not at any time ratify, condone or

 2   sustain any alleged wrongful conduct that may have been undertaken by any of its employees or

 3   agents, all of which Defendants expressly denies.

 4                              TWENTY-FIRST AFFIRMATIVE DEFENSE

 5                              (Conduct Not Committed by Managing Agents)

 6          21.       Plaintiff’s claim for punitive damages is barred because none of the alleged conduct

 7   was committed by managing agents of Defendant.

 8                            TWENTY- SECOND AFFIRMATIVE DEFENSE

 9                                         (Punitive Damages Barred)

10          22.       If and to the extent Plaintiff seeks punitive damages in this action, Plaintiff’s causes

11   of action are barred, in whole or in part, because Plaintiff has failed to allege facts sufficient to

12   support a claim for punitive and/or exemplary damages against Defendant and, to the extent plaintiff

13   seeks punitive or exemplary damages, it violates the rights of Defendant to protection from

14   “excessive fines” as provided in the Eighth Amendment of the United States Constitution and in

15   Article I, Section 17 of the Constitution of the State of California.

16                              TWENTY-THIRD AFFIRMATIVE DEFENSE

17                                          (Procedural Due Process)

18          23.       If and to the extent Plaintiff seeks punitive damages in this action, Plaintiff’s claims

19   are barred in whole or in part because plaintiff’s Complaint, to the extent that it seeks punitive or
20   exemplary damages, violates the rights of Defendant to procedural due process under the Fifth and

21   Fourteenth Amendments to the United States Constitution and under the Constitution of the State of

22   California.

23                            TWENTY- FOURTH AFFIRMATIVE DEFENSE

24                               (Evidence of Defendant’s Financial Condition)

25          24.       If and to the extent Plaintiff seeks punitive damages in this action, Plaintiff’s claim

26   for punitive damages is barred by the Due Process Clause of the U.S. Constitution, amend. V and

27   XIV, § 1, and the Due Process Clause of the Constitution of the State of California, to the extent the

28   law of this State permits the introduction of evidence of defendant’s financial condition or ‘net

                                                   44    6
                   DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1   worth’ with respect to the quantum of punitive damages. The introduction of such evidence violates

 2   Due Process by inviting the jury to award an arbitrary amount of punitive damages based on

 3   Defendant’s status as industrial enterprises.

 4                                   TWENTY- FIFTH AFFIRMATIVE DEFENSE

 5                                        (Burden on Interstate Commerce)

 6          25.      If and to the extent Plaintiff seeks punitive damages in this action, Plaintiff’s claim

 7   for punitive damages is barred by the Commerce Clause of the U.S. Constitution, art. I, § 8, cl. 3,

 8   because Defendant maintains its principal place of business outside this State, and the imposition of

 9   punitive damages on an out-of-state defendant would unreasonably discriminate against interstate

10   commerce.

11                             TWENTY- SIXTH AFFIRMATIVE DEFENSE

12                (Insufficient Nexus Between Defendant’s Conduct and Plaintiff’s Harm)

13          26.      If and to the extent Plaintiff seeks punitive damages in this action, Plaintiff’s claim

14   for punitive damages is barred by the Due Process Clause of the U.S. Constitution, amend. V and

15   XIV, § 1, and the Due Process Clause of the Constitution of the State of California, because the

16   Defendant’s conduct that is alleged to warrant punitive damages is unrelated to the Plaintiff’s harm,

17   and punitive damages may not be awarded to punish and deter conduct that bears no relation to the

18   Plaintiff’s harm.

19                           TWENTY- SEVENTH AFFIRMATIVE DEFENSE
20                                              (No Jury Trial)

21          27.      Plaintiff’s jury trial demand is unenforceable because, among other things, Defendant

22   is a federal instrumentality.

23                             TWENTY- NINTH AFFIRMATIVE DEFENSE

24          28.      Defendant reserves the right to allege additional defenses as they may become

25   known, or as they evolve during the litigation, and to amend its Answer accordingly.

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                  DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                                PRAYER

 2         WHEREFORE, Defendant prays as follows:

 3         1.      Plaintiff take nothing by her Complaint in this action;

 4         2.      That the Complaint be dismissed with prejudice;

 5         3.      That Defendant recover its costs and reasonable attorneys’ fees in this action; and

 6         4.      Such other and further relief as the Court deems just and proper.

 7
 8   DATED: June 24, 2020                MARTHA S. DOTY
                                         KELSEY K. WONG
 9                                       ALSTON & BIRD LLP
10
11
12
                                         Martha S. Doty
13                                       Attorneys for Defendant
                                         AMERICAN NATIONAL RED CROSS
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                DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                             PROOF OF SERVICE

 2          I, Nora Fernandez, declare:

 3           I am employed in the County of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action. My business address is c/o Alston & Bird LLP, 333 South Hope
 4   Street, Sixteenth Floor, Los Angeles, California 90071.

 5           On June 24, 2020, I served the document(s) described as DEFENDANT AMERICAN
     NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT on the interested
 6   parties in this action by the service marked below:

 7   Marvin E. Krakow, Esq.                                     Attorneys for Plaintiff
     Joshua M. Arnold, Esq.                                     MARGARITA PEDROZA
 8   Alexander Krakow & Glick, LLP
     1900 Avenue of the Stars, Suite 900                       Telephone: (310) 394-0888
 9   Los Angeles, CA 90067                                     Facsimile: (310) 394-0811
                                                               Email: mkrakow@akgllp.com
10                                                                     jarnold@akgllp.com
           BY MAIL: I am “readily familiar” with this firm’s practice for the collection and the processing of
11          correspondence for mailing with the United States Postal Service. In the ordinary course of business,
            the correspondence would be deposited with the United States Postal Service at 333 South Hope Street,
12          Los Angeles, California 90071 with postage thereon fully prepaid the same day on which the
            correspondence was placed for collection and mailing at the firm. Following ordinary business
13          practices, I placed for collection and mailing with the United States Postal Service such envelope at
            Alston & Bird LLP, 333 South Hope Street, Los Angeles, California 90071.
14         UPS NEXT DAY AIR: I deposited such envelope in a facility regularly maintained by UPS with
            delivery fees fully provided for or delivered the envelope to a courier or driver of UPS authorized to
15          receive documents at Alston & Bird LLP, 333 South Hope Street, Los Angeles, California 90071 with
            delivery fees fully provided for.
16         By Personal Service: I caused to be delivered by courier ACE ATTORNEY SERVICE,
            INC., such envelope by hand to the offices of the above addressee(s).
17         BY FACSIMILE: I telecopied a copy of said document(s) to the following addressee(s) at the
            following number(s) in accordance with the written confirmation of counsel in this action.
18         BY ELECTRONIC MAIL TRANSMISSION WITH ATTACHMENT: On this date, I transmitted
            the above-mentioned document by electronic mail transmission with attachment to the parties at the
19          electronic mail transmission address set forth on the attached E-Service list.
           [State] I declare under penalty of perjury under the laws of the State of California that the above is true
20          and correct.
           [Federal]         I declare under penalty of perjury under the laws of the United States of
21          America that the foregoing is true and correct.

22          Executed on June 24, 2020, at Los Angeles, California.

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                                                                    Nora Fernandez
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                DEFENDANT AMERICAN NATIONAL RED CROSS’S ANSWER TO PLAINTIFF’S COMPLAINT
     LEGAL02/39813067v2
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 1                                      PROOF OF SERVICE
 2         I, Nora Fernandez, declare:
 3         I am employed in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action. My business address is c/o Alston &
 4   Bird LLP, 333 South Hope Street, Sixteenth Floor, Los Angeles, California 90071.
 5        On June 25, 2020, I served the document(s) described as DECLARATION OF
     MARTHA S. DOTY IN SUPPORT OF NOTICE OF REMOVAL OF ACTION
 6   TO UNITED STATES DISTRICT COURT UNDER 28 U.S.C. § 1441 and 1446,
     and 36 U.S.C. § 300105(a)(5)] on the interested parties in this action by the service
 7   marked below:
 8   Marvin E. Krakow, Esq.                                 Attorneys for Plaintiff
     Joshua M. Arnold, Esq.                                 MARGARITA PEDROZA
 9   Alexander Krakow & Glick, LLP
     1900 Avenue of the Stars, Suite 900                    Telephone: (310) 394-0888
10   Los Angeles, CA 90067                                  Facsimile: (310) 394-0811
                                                            Email: mkrakow@akgllp.com
11                                                                jarnold@akgllp.com
12        BY MAIL: I am “readily familiar” with this firm’s practice for the collection and the
           processing of correspondence for mailing with the United States Postal Service. In the
13         ordinary course of business, the correspondence would be deposited with the United
           States Postal Service at 333 South Hope Street, Los Angeles, California 90071 with
14         postage thereon fully prepaid the same day on which the correspondence was placed
           for collection and mailing at the firm. Following ordinary business practices, I placed
15         for collection and mailing with the United States Postal Service such envelope at
           Alston & Bird LLP, 333 South Hope Street, Los Angeles, California 90071.
16        UPS NEXT DAY AIR: I deposited such envelope in a facility regularly maintained by
           UPS with delivery fees fully provided for or delivered the envelope to a courier or
17         driver of UPS authorized to receive documents at Alston & Bird LLP, 333 South Hope
           Street, Los Angeles, California 90071 with delivery fees fully provided for.
18        By Personal Service: I caused to be delivered by courier ACE ATTORNEY
           SERVICE, INC., such envelope by hand to the offices of the above
19         addressee(s).
          BY ELECTRONIC MAIL TRANSMISSION WITH ATTACHMENT: On this date,
20         I transmitted the above-mentioned document by electronic mail transmission with
           attachment to the parties at the electronic mail transmission address set forth on the
21         attached E-Service list.
          [State] I declare under penalty of perjury under the laws of the State of California that
22         the above is true and correct.
          [Federal] I declare under penalty of perjury under the laws of the United
23         States of America that the foregoing is true and correct.
24   Executed on June 25, 2020, at Los Angeles, California.
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                                                                Nora Fernandez
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                                                        4
                       DECLARATION OF MARTHA S. DOTY IN SUPPORT OF NOTICE OF REMOVAL OF ACTION TO
                      UNITED STATES DISTRICT COURT UNDER 28 U.S.C. § 1441 and 1446, and 36 U.S.C. § 300105(a)(5)]
     LEGAL02/39813937v1
